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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF MAINE



 KAREN LISA VINCENT

            Plaintiff
                                                                 Case No. 2:22-cv-_______
     v.

 FAY SERVICING, LLC

           Defendant


                                              COMPLAINT

                                          Demand for Jury Trial

I.           JURISDICTION AND VENUE

          1. The court has jurisdiction of this matter pursuant to 28 U.S.C. § 1331and 28 U.S.C.

             § 1367, and 15 U.S.C. §§ 1692-1692k.

          2. Venue is appropriate as the property which once secured the now terminated mortgage

             loan at issue is located the Town of Standish in Cumberland County, Maine and Plaintiff

             is a resident of the City of Westbrook in Cumberland County, Maine and Defendant

             committed the acts complained of within this district.

II.          PARTIES

          3. Plaintiff Karen Lisa Vincent (“Mrs. Vincent”) is a resident of the City of Westbrook

             County of Cumberland and State of Maine.

          4. Defendant Fay Servicing LLC (“Fay”) is a corporation organized and existing under the

             laws of the State of Delaware.




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III.      FACTS REGARDING FAY

       5. Fay is registered with the Maine Secretary of State to do business in the State of Maine.

       6. Fay is licensed as a debt collector to collect consumer debts in the State of Maine by the

          Maine Bureau of Consumer Credit Protection.

       7. Fay regularly engages in the business of attempting to collect debts in the State of Maine.

       8. Fay is licensed as a supervised lender, which includes licensure as a mortgage servicer, in

          the State of Maine by the Maine Bureau of Consumer Credit Protection.

       9. Fay regularly engages in the business of servicing and enforcing mortgages securing

          mortgage debts and collecting such debts in the State of Maine.

       10. Fay collects debts using the mails and telephone as instrumentalities of interstate

          commerce, and regularly engages in attempts to collect debts alleged by Fay to be due to

          others than itself.

       11. Fay is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6) and the Maine

          FDCPA, 32 M.R.S. § 11002(6) & 11003(7)(C).

       12. Fay is regularly engaged in mortgage servicing activities and therefore is a mortgage

          servicer within the meaning of 14 M.R.S. § 6113.

       13. Fay took over the servicing of the loan at issue in this case effective October 10, 2021, at

          a time when the loan at issue was in default.

       14. At all times relative to the facts of this complaint, Fay has been servicing the loan at issue

          in the case on behalf of U.S. Bank Trust National Association as trustee of for LSF11

          Master Participation Trust.

       15. Upon assuming servicing responsibility for the loan that is the subject of this action, Fay

          treated the loan that is the subject of this action as being in default.




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IV.      THE MORTGAGE LOAN

      16. Mrs. Vincent is a consumer who lived in Standish, Maine at the time of the making of the

         loan described in the following paragraphs, and in 2017 moved to live in Westbrook,

         Maine.

      17. On July 26, 2006, Mrs. Vincent entered into a mortgage loan with First Magnus Financial

         Corporation in the amount of $197,600.00 (hereafter “the Mortgage Loan”) with respect

         to which Mrs. Vincent signed a promissory note (hereafter “the Note”) and a mortgage

         deed (hereafter “the Mortgage”).

      18. The Mortgage was upon the property in Standish, Maine owned at the time of the

         Mortgage by Mrs. Vincent and her husband and children (hereafter “the Property”).

      19. In late 2018 or early 2019, the Note of Mrs. Vincent, but not the Mortgage, was sold to

         U.S. Bank Trust, N.A. as trustee for the LSF11 Master Participation Trust.

      20. At no time did U.S. Bank Trust, N.A. become an assignee or owner of the Mortgage.

V.       THE BANKRUPTCY CASE OF MRS. VINCENT

      21. Mrs. Vincent filed a Chapter 7 bankruptcy case on April 19, 2012, in the Bankruptcy

         Court for the District of Maine.

      22. On July 31, 2012, the Maine Bankruptcy Court entered an order discharging Mrs.

         Vincent from liability on her debts.

      23. In the 2012 bankruptcy case of Mrs. Vincent, any personal liability which she may have

         had on the Note and the Mortgage was discharged.

VI.      THE BANK SUIT

      24. On or about October 15 2020, U.S. Bank Trust, N.A., as trustee for the LSF11 Master

         Participation Trust, filed a complaint against Mrs. Vincent this court as Case No. 2:20-cv-




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    00380-JAW (hereafter “the Bank Complaint”).

 25. In the Bank Complaint, U.S. Bank Trust, N.A. asserted in Count I a claim for foreclosure

    of the Property against Mrs. Vincent, and in Counts II-V asserted four counts of claims

    for personal liability of Mrs. Vincent arising under the Note.

 26. U.S. Bank Trust, N.A. lacked standing to assert the claim for foreclosure against Mrs.

    Vincent because it had no assignment of and did not own the Mortgage.

 27. The claims asserted by U.S. Bank Trust, N.A. against Mrs. Vincent for personal liability

    under the Note in Counts II-V of the Bank Complaint were barred by the provisions of 11

    U.S.C. § 524(a) due to the 2012 discharge of Mrs. Vincent’s personal liability by her

    2012 Maine Bankruptcy Court discharge.

 28. In response to the Bank Complaint, Mrs. Vincent filed a counterclaim against U.S. Bank

    Trust, N.A., its then mortgage servicer, Caliber Home Loans, Inc., and against the

    attorneys for U.S. Bank Trust, N.A. and Caliber who filed the Bank Complaint seeking

    damages for violations of 11 U.S.C § 524, the federal FDCPA, and 14 M.R.S. § 6113

    (hereafter “the Vincent Counterclaim”)

 29. Following the filing of the Vincent Counterclaim, U.S. Bank Trust, N.A. asked Mrs.

    Vincent to stipulate to the dismissal of the Bank Complaint, and a dismissal of the Bank

    Complaint was filed on January 7, 2021.

 30. The claims of U.S. Bank Trust, N.A. alleged in the Bank Complaint, and the claims of

    Mrs. Vincent alleged in the Vincent Counterclaim were settled among the parties in

    December 2021.




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VI.      THE SETTLEMENT AGREEMENT AND RELEASE

      31. The claims of U.S. Bank Trust, N.A. asserted in the Bank Complaint and the claims of

         Mrs. Vincent in the Vincent Counterclaim were settled under the terms of a Settlement

         Agreement and Release finally executed by all parties in December 2021 (the “Settlement

         Agreement”).

      32. A copy of the Settlement Agreement is filed herewith as Exhibit 1.

      33. The Settlement Agreement was executed on behalf of U.S. Bank Trust, N.A. on

         December 16, 2021, four months after Fay Serving, LLC became a servicer of the loan,

         by Fay Financial, LLC as attorney-in-fact for U.S. Bank Trust, N.A., with the Agreement

         being executed by Michael Aiken, Senior Vice President and Associate General Counsel

         for Fay Financial, LLC.

      34. Fay Financial, LLC is the parent corporation for Fay Servicing, LLC and Michael Aiken

         also was and continues to be Senior Vice President of Fay Financial, LLC.

      35. The Settlement Agreement provided that:

         a.      Mrs. Vincent was to deliver to U.S. Bank Trust, N.A. a quitclaim deed of all of

                 her interest in the Property (¶ 2).

         b.      All claims of U.S. Bank Trust, N.A. against Mrs. Vincent were released (¶ 7).

         c.      “The Parties shall each bear their own attorneys’ fees, costs and expenses in

                 connection with the Action, the Bankruptcy Case, and the negotiation and

                 preparation of the Settlement Agreement, except as provided in the Loan

                 Documents" (¶ 14).

         d.      U.S. Bank Trust, N.A., Caliber Home Loans, Inc. and Fay agreed to pay to Mrs.

                 Vincent the sum of $60,000.00 (¶3).




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   36. On December 22, 2021, Mrs. Vincent’s attorney delivered to the attorney representing

       U.S. Bank Trust, N.A. and Caliber the “Quitclaim Deed in Lieu of Foreclosure” of Mrs.

       Vincent conveying all of her interest in the Property to U.S. Bank Trust, N.A., a copy of

       which deed is filed herewith as Exhibit 2, (“the Deed In Lieu of Foreclosure”).

   37. Fay caused the deed of Mrs. Vincent to be recorded in the Cumberland County Registry

       of Deeds on January 19, 2022.

   38. On January 8, 2022, Fay issued its $60,000 settlement check, a copy of which is filed

       herewith as Exhibit 3.

   39. All claims of U.S. Bank Trust, N.A. asserted in the Bank Complaint and all claims of

       Mrs. Vincent asserted in the Vincent Counterclaim were dismissed with prejudice by the

       “Stipulation of Dismissal with Prejudice as to Complaint and Counterclaim” filed in Case

       No. 2:20-cv-00380-JAW on December 22, 2021.

   40. From and after December 22, 2021, Mrs. Vincent no longer owned any interest in the

       Property.

   41. As of December 22, 2022, and any all liability of Mrs. Vincent under the Note, the

       Mortgage, and the Mortgage Loan were completely extinguished.

VII.   THE WRONGFUL ACTIONS OF FAY

   42. Notwithstanding the terms of the Settlement Agreement, Fay sent to Mrs. Vincent on

       January 10, 2022, a mortgage statement asserting her continued liability on the Mortgage

       Loan, a copy of which is attached hereto as Exhibit 4 (hereafter “the January 10, 2022,

       Mortgage Statement”).

   43. Notwithstanding the terms of the Settlement Agreement, Fay sent to Mrs. Vincent on

       February 10, 2022, a mortgage statement asserting her continued liability on the




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     Mortgage Loan, a copy of which is attached hereto as Exhibit 5 (hereafter “the February

     10, 2022, Mortgage Statement”).

  44. Notwithstanding the terms of the Settlement Agreement, Fay sent to Mrs. Vincent on

     February 10, 2022, a letter asserting that she was behind on her mortgage statements, that

     Fay had the right to “invoke foreclosure” and that Mrs. Vincent needed to take action “to

     avoid losing your home” (“the February 10, 2022, Letter”). A copy of this letter is filed

     herewith as Exhibit 6.

  45. Since the January 10, 2022 Mortgage Statement, the February 10, 2022 Mortgage

     Statement and the February 10 Letter were sent to the address of counsel for Mrs.

     Vincent, he was under an ethical duty to and did send them to Mrs. Vincent.

VIII. CAUSES OF ACTION AGAINST FAY

                              COUNT I--FEDERAL FDCPA
                               15 U.S.C. §§ 1692 - 1692p.

  46. Mrs. Vincent repeats the preceding allegations of paragraphs 1-45 of the Complaint as if

     set forth fully in this paragraph 46 of Count I.

  47. In sending to Mrs. Vincent the January 10, 2022, Mortgage Statement, the February 10,

     2022, Mortgage Statement, and the February 10, 2022, Letter, Fay was attempting to

     collect a debt which it asserted to be owed to U.S. Bank National Association as trustee

     for LSF11 Master Participation Trust.

  48. In attempting to collect the debt relating to the Mortgage Loan which Fay asserted to be

     due to U.S. Bank Trust, N.A. as trustee for LSF11 Master Participation Trust, Fay used

     the mail system of the U.S. Postal Service.

  49. In the January 10, 2022 Mortgage Statement, Fay asserted to Mrs. Vincent that there was

     an outstanding principal balance due on the Mortgage Loan, that the loan was containing



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    to accrue interest, that there was an escrow balance due on the loan, and that there were

    “recoverable corporate advances due on the loan, and that there was “unpaid amount of

    $1,361.24” on the loan that came due on January 1, 2022, all of which statements were

    false as a result of the Settlement Agreement which was finalized as of December 22,

    2021.

 50. In the February 10, 2022 Mortgage Statement, Fay asserted to Mrs. Vincent that there

    was an outstanding principal balance due on the Mortgage Loan, that the loan was

    containing to accrue interest, that there was an escrow balance due on the loan, and that

    there were “recoverable corporate advances due on the loan, and that there was “unpaid

    amount of $1,361.24” on the loan that came due on January 1, 2022” and an “unpaid

    amount of $1,361.24” on the loan that came due on February 1, 2022, all of which

    statements were false as a result of the Settlement Agreement which was finalized as of

    December 22, 2021.

 51. The January 10, 2022, Mortgage Statement and the February 10, 2022 Mortgage

    Statement included statements that $20 charges for “Property Inspection Fee” were made

    by Fay to the to the loan account for the Mortgage Loan on December 15, 2021 and

    January 15, 2022 even though the principal for whom Fay was acting as agent and

    servicer, U.S. Bank Trust, N.A. as trustee for LSF11 Master Participation Trust, did not

    own the Mortgage and therefore had no right to charge the Vincent loan account such

    property inspection fees, and even though U.S. Bank Trust, N.A. as trustee for LSF11

    Master Participation Trust owned the full title to the Property as of Mrs. Vincent’s

    delivery to it of the Deed In Lieu of Foreclosure on December 22, 2021.




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 52. Fay knew at the time of the sending of the January 10, 2022 Mortgage Statement and the

    February 10, 2022 Mortgage Statement that the above identified statements in them were

    untrue and that the charges to the loan account of property inspection fees, foreclosure

    attorney fees and litigation costs were improper and impermissible, since Michael Aiken

    signed the Settlement Agreement on December 16, 2021 at a time when he was Senior

    Vice President and Associate General Counsel of both Fay Financial, Inc. and Fay

    Servicing, LLC and therefore knew that all liability on the Mortgage Loan had been

    extinguished, and since he remained in that capacity when Fay sent the January 10, 2022,

    Mortgage Statement, the February 10, 2022 Mortgage Statement, and the February 10,

    2022 Letter to Mrs. Vincent.

 53. Fay violated the provisions of 15 U.S.C. §§ 1692 - 1692p (the FDCPA). Fay’s violations

    include, but are not limited to, the following:

        a. In sending the January 10, 2022 Mortgage Statement, the February 10, 2022

           Mortgage Statement, and the February 10, 2022 Letter, Fay violated 15 USC

           §1692d by engaging in conduct, the natural consequence of which was to

           harass, oppress or abuse Mrs. Vincent in connection with the collection of the

           mortgage debt by delivering notices to seek payment of monies not owed by

           her and misrepresentating the status of the debt previously owed under the

           Note and Mortgage.

        b. In sending the January 10, 2022, Mortgage Statement, the February 10, 2022,

           Mortgage Statement, and the February 10, 2022 Letter, Fay violated 15 USC

           §1692e by using false, deceptive, or misleading representations or means in

           connection with the collection of Mrs. Vincent’s alleged mortgage debt by




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             delivering the January 10, 2022 Mortgage Statement, the February 10, 2022

             Mortgage Statement, and the February 10, 2022 Letter, seeking payment of

             monies not owed by her.

         c. In sending the January 10, 2022, Mortgage Statement, the February 10, 2022,

             Mortgage Statement, and the February 10, 2022, Letter, Fay violated 15 USC

             §1692e(2)(A) by falsely representing the character, amount or legal status of

             the alleged mortgage debt by delivering to Mrs. Vincent the January 10, 2022,

             Mortgage Statement, the February 10, 2022, Mortgage Statement, and the

             February 10, 2022, Letter, seeking payment of monies not owed.

         d. Fay violated 15 USC §1692f by using unfair or unconscionable means to

             collect or attempt to collect on the mortgage debt by delivering the January 10,

             2022, Mortgage Statement, the February 10, 2022, Mortgage Statement, and

             the February 10, 2022, Letter, to Mrs. Vincent to seek payment of monies not

             owed.

  54. Fay’s acts as described above were done recklessly or intentionally with the purpose of

     inducing or coercing Mrs. Vincent to pay money on the alleged debt that she did not owe.

  55. Fay’s conduct described above, and in Count III of this Complaint, is part of a pattern and

     practice of similar violations of the FDCPA.

  56. Mrs. Vincent experienced serious and considerable emotional distress as a result of being

     sued inn October 2020 for four counts of personal liability in excess of $244,889.73 by

     the Bank Complaint, and she felt considerable relief when, under the terms of the

     Settlement Agreement, the Bank Complaint was dismissed with prejudice and there was a

     supposed extinguishment of any and all liability she may have had with respect to the




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     Mortgage Loan

  57. The actions of Fay complained about in the preceding paragraphs have re-triggered the

     emotional distress that she experienced as a result of violations of the discharge

     injunction described in the Vincent Counterclaim, have deprived Mrs. Vincent of the

     relief that she had begun to feel as a result of the Settlement Agreement and its release

     provisions, and have caused for Mrs. Vincent renewed emotional distress.

  58. After her execution and delivery to U.S. Bank Trust, N.A. of Settlement Agreement and

     the Deed In Lieu of Foreclosure, Mrs. Vincent was relieved that the legal issues which

     were the subject of the Settlement Agreement, the Bank Complaint and the Vincent

     Counterclaim were all resolved, and she was justifiably hopeful that she would be able to

     resume living her life in peace and caring for her terminally ill husband without further

     disturbance or wrongful actions by Fay.

  59. The wrongful actions of Fay in demanding payments from Mrs. Vincent that she did not

     owe after the completion of the Settlement Agreement and after the wrongful actions of

     Fay described in her counterclaim which was the subject of the Settlement Agreement

     have left Mrs. Vincent uncertain, in doubt and emotionally distressed as to whether Fay,

     as servicer of the Mortgage, will ever cease wrongfully pursuing her for money that she

     does not owe on the Mortgage or for foreclosure of the Property in which she no longer

     has any legal interest.

  60. The wrongful actions of Fay in demanding payments from Mrs. Vincent that she did not

     owe after the completion of the Settlement Agreement have left Mrs. Vincent worried

     and emotionally distressed over the risk that she may be continually required to seek out

     and pay legal counsel to protect her against continuing wrongful actions of Fay and have




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       left her worried and concerned that she may not have the financial resources to protect

       herself with the assistance of counsel against continuing wrongful actions of Fay.

   61. The wrongful actions of Fay in demanding payments from Mrs. Vincent that she did not

       owe after the completion of the Settlement Agreement have left Mrs. Vincent worried

       and emotionally distressed with concerns that she may again face efforts by Fay to drag

       her into new litigation seeking to assert claims under the Note and Mortgage for which

       she has no longer has any liability

   62. As a result of the sending by Fay of the January and February 2022 Mortgage Statements,

       following all of the previous misconduct of Fay as enumerated above which was the

       subject of the Mrs. Vincent’s previous counterclaim and the Settlement Agreement, Mrs.

       Vincent has been subjected to still additional emotional distress and to fears and doubts

       as to whether Fay will ever properly handle his loan account and stop trying to charge her

       for money that he does not owe, and whether Fay will continue to violate the statutes and

       laws created to protect her from such misconduct.

   63. As a result of the above violations of the FDCPA, Fay is liable to Mrs. Vincent for

       judgment that Fay’s conduct violated the FDCPA, for Mrs. Vincent’s actual damages,

       which include damages for emotional distress, for statutory damages pursuant to

       15 U.S.C. § 1692k(a)(2) of up to $1,000, and for the attorney fees and costs incurred in

       the representation of Mrs. Vincent.

       WHEREFORE, Plaintiff Karen Lisa Vincent prays for an award of compensatory

damages, statutory damages, and attorney fees and for such other and further relief as the court

shall deem appropriate and for her costs.




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                                COUNT II--MAINE FDCPA
                                 32 M.R.S. §§ 11001 - 11054

  64. Plaintiff Vincent repeats and realleges and incorporates by reference the allegations of

     paragraphs 1-45 and above in this paragraph 64 of Count II.

  65. Fay violated the provisions of 32 M.R.S. §§ 11001-11054 the Maine FDCPA, which

     violations include, but are not limited to the following:

         a. In sending the January 10, 2022 and February 10, 2022 Mortgage Statements

             and the February 10, 2022 Letter, Fay violated 32 M.R.S.A. §11013(1) by

             engaging in conduct, the natural consequence of which was to harass, oppress

             or abuse Ms. Vincent in connection with the collection of the mortgage debt by

             delivering notices to seek payment of monies not owed and misrepresenting

             the status of the debt.

         b. In sending the January 10, 2022, and February 10, 2022, Mortgage Statements

             and the February 10, 2022, Letter Fay violated 32 M.R.S.A. §11013(2) by

             using false, deceptive, or misleading representations or means in connection

             with the collection of the mortgage debt evidence by the Note and Mortgage by

             delivering notices to Mrs. Vincent seeking payment of monies not owed and

             misrepresenting the status of the debt.

         c. In sending the January 10, 2022 and February 10, 2022 Mortgage Statements

             and the February 10, 2022 Letter Fay violated 32 M.R.S.A. §11013(2)(B) by

             falsely representing the character, amount or legal status of the mortgage debt

             by delivering notices to seek payment of monies not owed and misrepresenting

             the status of the debt.




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   66. In sending the January 10, 2022, and February 10, 2022, Mortgage Statements and the

       February 10, 2022, Letter, Fay violated 32 M.R.S.A. §11013(2)(B) by using unfair or

       unconscionable means to collect or attempt to collect on the mortgage debt by delivering

       notices to Mrs. Vincent to seek payment of monies not owed and misrepresenting the

       status of the debt.

   67. Plaintiff repeats and realleges the allegations of paragraphs 54 through 62 of Count II as

       if set forth fully in this paragraph 67 of Count II of the Complaint.

   68. As a result of the above violations of the Maine FDCPA, Fay is liable to Mrs. Vincent

       for judgment that Fay’s conduct violated the Maine FDCPA, for Mrs. Vincent’s actual

       damages, which include damages for emotional distress, for statutory damages pursuant

       to 32 M.R.S. § 11054(1)(B) of up to $1,000, and for the attorney fees and costs incurred

       in the representation of Mrs. Vincent and for costs.

       WHEREFORE, Plaintiff Karen Lisa Vincent prays for awards of compensatory

damages, statutory damages, and attorney fees and for such other and further relief as the court

shall deem appropriate and for his costs.

                COUNT III—BREACH OF SERVICER DUTY OF GOOD FAITH
                                 14 M.R.S. § 6113

   69. Plaintiff Vincent repeats and realleges and incorporates by reference the allegations of

       paragraphs 1 thorough 45 and 47 through 62 above as if set forth fully in this Count III of

       the Complaint.

   70. The conduct of Fay described above constitutes multiple failures by Fay to act in good

       faith toward Mrs. Vincent in the servicing of the Mortgage Loan in violation of the

       mandate of 14 M.R.S. § 6113(2) which required Fay to act in good faith in the servicing

       of the Mortgage Loan.



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  71. The conduct of Fay in violating the duty of good faith which it owed to Mrs. Vincent has

     resulted in actual damages to Mrs. Vincent including substantial emotional distress as

     described above.

  72. Fay has engaged in a pattern and practice of settling homeowner’s claims for servicing

     misconduct, and then attempting to charge those homeowners for legal fees and other

     costs incurred in the settlement process where the recovery of such fees are not permitted

     by the terms of the settlements.

  73. The pattern and practice identified in the preceding paragraph is evidenced by:

         a. The facts alleged in Count II above involving the two 2020 mortgage statements

             and the February 10, 2022, Letter;

         b. The facts stated by the plaintiff in the First Amended Complaint in the matter of

             McKay v. Fay Servicing, LLC, D. Me. Case No. 1:21-cv-00236-JDL, ECF 10, as a

             result of which Fay settled the claims of McKay alleging that, after settling the

             McKay counterclaims for filing a wrongful mortgage related collection suit, Fay

             wrongly imposed legal fees charges for the bringing of its wrongful collection

             action on the McKay loan account

         c. The facts that, following the settlement and dismissal of McKay v. Fay Servicing,

             LLC, D. Me. Case No. 1:21-cv-00236-JDL and the second settlement agreement

             between McKay and Fay relating thereto, Fay continued to attempt to charge that

             homeowner/borrower, even after the completion of that settlement, for fees

             and/or costs not permitted by the terms of that second settlement in that case.

         d. The facts that Fay has engaged in similar conduct in multiple cases in other

             jurisdictions.




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   74. The conduct of Fay described above evidences a pattern and practice of Fay in violating

       its duty of good faith entitling Mrs. Vincent to recovery of statutory damages not

       exceeding $15,000.00.

   75. The conduct of Fay in violating the duty of good faith which it owed to Mrs. Vincent

       entitles her to recovery of her actual damages, statutory damages pursuant to 14 M.R.S.

       § 6113(4)(B), and her legal fees and costs in this action.

       WHEREFORE, Plaintiff Karen Lisa Vincent prays for awards of compensatory

damages, statutory damages, and attorney fees and for such other and further relief as the court

shall deem appropriate and for his costs.

                      COUNT V--CLAIM FOR INJUNCTIVE RELIEF

   76. Plaintiff Vincent repeats and realleges and incorporates by reference the allegations of

       paragraphs 1-45, 55-62 and 73 above in this paragraph 76 of Count IV.

   77. The pattern and practices of Fay in (a) wrongfully suing homeowners such as Mrs.

       Vincent and McKay when they either owe no money on a prior mortgage or when the

       homeowner is performing his or her mortgage obligations, and (b) settling lawsuits with

       homeowners and then wrongfully adding legal fees to their loan accounts for the

       wrongfully brought legal actions, are not deterred by legal actions against Fay to stop

       those wrongfully actions.

   78. Vincent has no adequate remedy at law to stop the inflictions upon her by Fay of

       emotional distress when it wrongfully seeks recovery from her for money which she does

       not owe and when it wrongfully charges her loan account, which should have ceased to

       exist after December 22, 2021, for its attorney fees in wrongfully suing her for money

       which she does not owe.



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   79. The pattern and practices of Fay in (a) wrongfully suing homeowners such as Mrs.

       Vincent and McKay when they either owe no money on a prior mortgage or when the

       homeowner is performing his or her mortgage obligations, and (b) settling lawsuits with

       homeowners and then wrongfully adding legal fees to their loan accounts for the

       wrongfully brought legal actions, inflict irreparable harm upon her since money damages

       for such wrongful conduct do not eliminate the emotional distress caused by the wrongful

       actions of Fay.

   80. There will be no unreasonable hardship imposed upon Fay by the relief prayed for by

       Vincent in the Count IV, since the relief prayed for is for an order for an injunction that

       Fay cease its actions of taking illegal and prohibited collection actions against Mrs.

       Vincent.

   81. The effect of the court’s granting of the relief prayed for in this Count IV will benefit the

       public interest in that it will deter Fay, and perhaps other mortgage servicers, from

       continuing the conduct described in this compliant.

       WHEREFORE, Plaintiff Karen Lisa Vincent prays for an order preliminarily and

permanent enjoining and/or ordering Defendant Fay in the following respects:

       A.     Enjoining Fay against sending any more mortgage statements to Mrs. Vincent

with respect to the Mortgage Loan;

       B.     Enjoining Fay from sending any more letters to Mrs. Vincent or otherwise

communicating with her in messages stating that:

              1. She owes money on the Mortgage Loan;

              2. That there continues to exist a loan account for the Mortgage Loan;




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               3. That charges for foreclosure attorney fees, litigation fees, inspection fees or

               other charges of any description are owed on the loan account or being added to

               the loan account for the Mortgage Loan;

       C.      Ordering that Fay adopt policies and procedures reasonably and rationally

designed to and likely to prevent Fay from wrongfully suing Vincent or any other

homeowner/borrower for money not owed by that person;

       D.      Ordering that Fay correct its mortgage servicing computer systems to render it

impossible for Fay to send to Mrs. Vincent or any other homeowner/borrower any

communication asserting liability of such person for payment on a loan on which money is no

longer owned and/or asserting that Fay has a right to foreclose on property of such person where

such right to foreclose has been terminated by payment or by agreement between the loan owner

and the homeowner/borrower;

       E. Ordering that, within a reasonable time to be set by the court, that Fay provide proof

satisfactory and sufficient to the court, through a sworn declaration of its Senior Vice President

and Associate General Counsel, Michael Aiken, or other officer of equal or greater seniority, that

it has taken the actions ordered in the preceding two paragraphs; and

       F. Ordering such other and further relief as the court shall deem appropriate.

                               DEMAND FOR TRIAL BY JURY

       In the filing of this Complaint, Plaintiff Karen Lisa Vincent demand trial by jury on her

claims against Fay in Counts I through III of this Complaint.

 DATED: February 25, 2022

                                                   /s/ Thomas A. Cox
                                                    Thomas A. Cox, Esq. Me. Bar No. 1248
                                                    Attorney for Plaintiff Karen Lisa Vincent




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